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                                         IN THE UNITED STATES DISTRICT COURT
                                         FOR THE NORTHERN DISTRICT OF TEXAS
                                                   DALLAS DIVISION
 

    UNITED STATES OF AMERICA                                       §
                                                                   §
    v.                                                             §    CASE NO.: 3:18-CR-00169-N
                                                                   §
    RICKY DALE SORRELLS (1)                                        §

                       ORDER ACCEPTING REPORT AND RECOMMENDATION OF THE
                    UNITED STATES MAGISTRATE JUDGE CONCERNING PLEA OF GUILTY

        After reviewing all relevant matters of record, including the Notice Regarding Entry of a Plea of Guilty, the Consent
of the defendant, and the Report and Recommendation Concerning Plea of Guilty of the United States Magistrate Judge,
and no objections thereto having been filed within fourteen days of service in accordance with 28 U.S.C. § 636(b)(1), the
undersigned District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge concerning the
Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty, and
RICKY DALE SORRELLS (1) is hereby adjudged guilty of 18 USC § 1349 Conspiracy to Commit Honest Services Wire
Fraud. Sentence will be imposed in accordance with the Court's scheduling order.

☐        The defendant is ordered to remain in custody.

☒        The Court adopts the findings of the United States Magistrate Judge by clear and convincing evidence that the defendant is not
         likely to flee or pose a danger to any other person or the community if released and should therefore be released under § 3142(b)
         or (c).

☐        Upon motion, this matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release
         for determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any other
         person or the community if released under § 3142(b) or (c).

☐        The defendant is ordered detained pursuant to 18 U.S.C. § 3143(a)(2). The defendant shall self-surrender to the United States
         Marshal no later than __________________________.

☐        The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the Court finds
         ☐       There is a substantial likelihood that a motion for acquittal or new trial will be granted, or
         ☐       The Government has recommended that no sentence of imprisonment be imposed, and
         ☐       This matter shall be set for hearing before the United States Magistrate Judge who set the conditions of release for
                 determination, by clear and convincing evidence, of whether the defendant is likely to flee or pose a danger to any
                 other person or the community if released under § 3142(b) or (c).

☐        The defendant is not ordered detained pursuant to 18 U.S.C. § 3143(a)(2) because the defendant has filed a motion alleging
         that there are exceptional circumstances under § 3145(c) why he/she should not be detained under § 3143(a)(2). This matter
         shall be set for hearing before the United States Magistrate Judge who set the conditions of release for determination of whether
         it has been clearly shown that there are exceptional circumstances under § 3145(c) why the defendant should not be detained
         under § 3143(a)(2), and whether it has been shown by clear and convincing evidence that the defendant is likely to flee or pose
         a danger to any other person or the community if released under § 3142(b) or (c).

SIGNED this 8th day of June, 2018.

                                                                         ________________________________________
                                                                         DAVID C. GODBEY
                                                                         UNITED STATES DISTRICT JUDGE
